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                    UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK

                            JUDGMENT IN A CIVIL CASE

JAMES DOE,

              Plaintiff,

       vs.                                CASE NUMBER: 3:17-CV-0402 (GTS/DEP)

CORNELL UNIVERSITY;
ELIZABETH MCGRATH; and
JODY KUNK-CZAPLICKI,

              Defendants.


On August 31, 2018 (at least 14 days before the date set for trial in this action), Cornell
University, Elizabeth McGrath and Jody Kunk-Czaplicki (“Defendants”) served on
Plaintiff an Offer of Judgment pursuant to Fed. R. Civ. P. 68. (Dkt. Nos. 34, 35.) On or
before September 7, 2018 (within 14 days of being served with that Offer of Judgment),
James Doe (“Plaintiff”) served a written acceptance of that Offer of Judgment. (Id.) On
September 27, 2018, Defendants filed the Offer of Judgment, Notice of Acceptance,
and proof of service. (Dkt. Nos. 35, 36.) As a result, the Clerk must enter the Judgment
in accordance with Fed. R. Civ. P. 68.

IT IS ORDERED AND ADJUDGED that, pursuant to Fed. R. Civ. P. 68, Judgment is
hereby entered in favor of Plaintiff and against Defendants in the amount of one
hundred and twenty five thousand dollars ($125,000.00), exclusive of costs and
attorneys’ fees accrued to date, on all causes of action alleged in Plaintiff’s Amended
Complaint dated May 12, 2017. Plaintiff may file a motion for attorneys’ fees and costs
within fourteen (14) days of the date of this Judgment.


DATED:        October 2, 2018




                                                 ___________________________
                                                 L. Welch, Deputy Clerk
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                      NOTICE TO LITIGANTS - FILING NOTICE OF APPEAL

This notice is to inform you of the time limitations for filing a Notice of Appeal under
Federal Rules of Appellate Procedure Rule 4 (see below) and of the necessity of filing a
timely motion for extension with in the thirty-day extension period if the Notice of Appeal
is untimely.

Rule 4. Appeal as of Right - When Taken                          a notice of appeal, or an amended notice of appeal - in
 (a) Appeal in a Civil Case                                      compliance with Rule 3(c) - within the time prescribed
   (1) Time for Filing a Notice of Appeal.                       by this Rule measured from the entry of the order
     (A) In a civil case, except as provided in Rules            disposing of the last such remaining motion.
4(a)(1)(B), 4(a)(4) and 4(c), the notice of appeal                   (5) Motion for Extension of Time
required by Rule 3 must be filed with the district clerk                (A) The district court may extend the time to file a
within 30 days after entry of the judgment or order              notice of appeal if:
appealed from.                                                            (i) a party so moves no later than 30 days after
     (B) The notice of appeal may be filed by any party          the time prescribed by this Rule 4 (a) expires; and
within 60 days after the entry of the judgment or order                   (ii) regardless of whether its motion is filed before
appealed from if one of the parties is:                          or during the 30 days after the time prescribed by this
      (i) the United States;                                     Rule 4 (a) expires, that party shows excusable neglect
      (ii) a United States agency;                               or good cause.
      (iii) a United States officer or employee sued in an              (B) A motion filed before the expiration of the time
official capacity; or                                            prescribed in Rule 4 (a)(1) or (3) may be ex parte
      (iv) a current or former United States officer or          unless the court requires otherwise. If the motion is filed
employee sued in an individual capacity for an act or            after the expiration of the prescribed time, notice must
omission occurring in connection with duties performed           be given to the other parties in accordance with local
on the United States’ behalf - including all instances in        rules.
which the United States represents that person when                    (C) No extension under this Rule 4 (a)(5) may
the judgment or order is entered or files the appeal for         exceed 30 days after the prescribed time or 14 days
that person.                                                     after the date when the order granting the motion is
     (C) An appeal from an order granting or denying an          entered, whichever is later.
application for writ of error coram nobis is an appeal in a         (6) Reopening the Time to File an Appeal. The
civil case for purposes of Rule 4(a).                            district court may reopen the time to file an appeal for a
   (2) Filing Before Entry of Judgment. A notice of              period of 14 days after the date when its order to
appeal filed after the court announces a decision or             reopen is entered, but only if all the following conditions
order - but before the entry of the judgment or order - is       are satisfied:
treated as filed on the date of and after the entry.                  (A) the court finds that the moving party did not
   (3) Multiple Appeals. If one party timely files a notice      receive notice under Federal Rule of Civil Procedure
of appeal, any other party may file a notice of appeal           77(d) of the entry of the judgment or order sought to be
within 14 days after the date when the first notice was          appealed within 21 days after entry;
filed, or within the time otherwise prescribed by this                (B) the motion is filed within 180 days after the
Rule 4(a), whichever period ends later.                          judgment or order is entered or within 14 days after the
   (4) Effect of a Motion on a Notice of Appeal.                 moving party receives notice under Federal Rule of Civil
     (A) If a party timely files in the district court any of    Procedure 77(d) of the entry, whichever is earlier; and
the following motions under the Federal Rules of Civil               (C) the court finds that no party would be prejudiced.
Procedure, the time to file an appeal runs for all parties         (7) Entry Defined.
from the entry of the order disposing of the last such               (A) A judgment or order is entered for purposes of
remaining motion:                                                this Rule 4 (a):
      (i) for judgment under Rule 50(b);                                (i) if Federal Rule of Civil Procedure 58(a)(1) does
      (ii) to amend or make additional factual findings          not require a separate document, when the judgment or
under Rule 52(b), whether or not granting the motion             order is entered in the civil docket under Federal Rule of
would alter the judgment;                                        Civil Procedure 79(a); or
      (iii) for attorney’s fees under Rule 54 if the district           (ii) if Federal Rule of Civil Procedure 58(a) requires
court extends the time to appeal under Rule 58;                  a separate document, when the judgment or order is
      (iv) to alter or amend the judgment under Rule 59;         entered in the civil docket under Federal Rule of Civil
      (v) for a new trial under Rule 59; or                      Procedure 79(a) and when the earlier of these events
      (vi) for relief under Rule 60 if the motion is filed no    occurs:
later than 28 days after the judgment is entered.                         • the judgment or order is set forth on a separate
    (B)(i) If a party files a notice of appeal after the court   document, or
announces or enters a judgment - but before it disposes                   • 150 days have run from entry of the judgment or
of any motion listed in Rule 4(a)(4)(A) - the notice             order in the civil docket under Federal Rule of Civil
becomes effective to appeal a judgment or order, in              Procedure 79(a).
whole or in part, when the order disposing of the last              (B) A failure to set forth a judgment or order on a
such remaining motion is entered.                                separate document when required by Federal Rule of
     (ii) A party intending to challenge an order disposing      Civil Procedure 58(a)(1) does not affect the validity of
of any motion listed in Rule 4(a)(4)(A) or a judgment’s          an appeal from that judgment or order.
alteration or amendment upon such a motion, must file
